862 F.2d 871Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leonard Francis WHEELER, Petitioner-Appellant,v.Ralph PACKARD, Warden, Respondent-Appellee.
    No. 87-6655.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 28, 1988.Decided:  Nov. 14, 1988.
    
      Leonard Francis Wheeler, appellant pro se.
      Norman L. Smith (Office of the Attorney General of Maryland), for appellee.
      Before K.K. HALL and ERVIN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Leonard Francis Wheeler appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Wheeler v. Packard, C/A No. 86-3696-R (D.Md. Sept. 30, 1987).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    